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                     UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                Eastern Division

Frank Slotkus
                                                Plaintiff,
v.                                                           Case No.: 1:17−cv−01923
                                                             Honorable Thomas M. Durkin
Board Of Education Of The City Of Chicago
                                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, May 22, 2017:


       MINUTE entry before the Honorable Thomas M. Durkin:Status hearing held on
5/22/2017. Plaintiff failed to appear once again and defense counsel has had no contact
with him. Consistent with this Court's 4/26/2017 order, this action is hereby dismissed for
want of prosecution. Civil case terminated. Mailed notice(srn, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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